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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  JESUS GONZALEZ, an individual,

         Plaintiff,                                   CASE NO.:
  v.

  CITY HOUSE HOSTELS,

        Defendant.
  ______________________________________/

                                           COMPLAINT

         Plaintiff, JESUS GONZALEZ, (hereinafter “Plaintiff”), sues Defendant, CITY HOUSE

  HOSTELS (hereinafter “Defendant”) for injunctive relief, attorneys’ fees, and litigation costs,

  including but not limited to disbursements, court expenses, and other fees, pursuant to the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA Accessibility

  Guidelines, 28 C.F.R. Part 36 (hereinafter “ADAAG”), and alleges:

                                        INTRODUCTION

         1.      Defendant owns and/or operates that certain hotel known as CITY HOUSE

  HOSTEL PHILADELPHIA, located in Philadelphia, Pennsylvania (the “Hotel”). The Hotel has a

  website located at https://www.cityhousehostels.com/philadelphia-hostel (the “Website”). The

  Hotel takes reservations through its website and/or a third-party website and provides information

  regarding available guestrooms and amenities.

         2.      As of March 15, 2012, Defendant was required to ensure that all of its reservation

  systems, including its online reservation systems (a) identify and describe disabled accessible

  features of the Hotel in detail; (b) identify and describe disabled accessible features of ADA

  compliant guest rooms in detail; (c) permit disabled individuals to independently assess whether

  the Hotel and its available guestrooms meet their individual accessibility needs (by describing
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  accessible and inaccessible features); and (d) allow reservations to be taken for accessible

  guestrooms in the same manner as for non-accessible guestrooms.1 Defendant has not complied.

  This lawsuit follows.

                                    JURISDICTION AND VENUE

          3.      This Court has original subject matter jurisdiction over this action pursuant to 28

  U.S.C., §§1331, 1343, as Plaintiff’s claims arise under 42 U.S.C. §12181. et seq., based upon the

  enumerated violations of Title III of the Americans with Disabilities Act (see also, 28 U.S.C. §§

  2201 and 2202).

          4.      This Court has personal jurisdiction over Defendant in this action. Defendant owns

  or operates the Website, which is an interactive website through which Defendant seeks to

  consummate financial transaction (reservations and payments) with residents of this District (and

  others) who visit the Website, and Defendant violated Plaintiff’s civil rights in this District, as set

  forth more fully below.

          5.      Venue lies in this District pursuant to 28 U.S.C. §1391(a)(2), because a substantial

  part of the events or omissions giving rise to the claims here at issue occurred in this District;

  Plaintiff encountered Defendant’s ADA violations in this District, and the injury to Plaintiff here

  at issue occurred in this District.

                                               PARTIES

          6.      At all times Material hereto, Plaintiff, JESUS GONZALEZ, was and is over the age

  of 18 years, sui juris, and a resident of Miami-Dade County, Florida.




      1
        This is a non-exclusive list of requirements imposed by 28 C.F.R. §36.302(e)(l). These
  requirements apply not only to the Website, but also to every online reservation system on which
  reservations can be made to stay at the Hotel, including orbitz.com, travelocity.com, hotels.com,
  and others.
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         7.      Plaintiff has at all material times suffered from a “qualified disability” under the

  ADA. Plaintiff has been diagnosed with paraplegia and uses a wheelchair for mobility purposes.

         8.      Defendant exist under the laws of Pennsylvania and is conducting business in the

  District and is the owner and/or operator of the Hotel and has control over the content of the

  Website.

                                   COUNT I
               VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

         9.      On July 26, 1990, Congress enacted the ADA, explaining that its purpose was to

  provide a clear and comprehensive national mandate for the elimination of discrimination against

  individuals with disabilities and to provide clear, strong, consistent, enforceable standards

  addressing such discrimination, invoking the sweep of congressional authority in order to address

  the major areas of discrimination faced day-to-day by people with disabilities to ensure that the

  Federal government plays a central role in enforcing the standards set by the ADA. 42 U.S.C. §

  12101(b)(l) - (4).

         10.     Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

  Department of Justice, Office of the Attorney General (“DOJ”), published revised regulations for

  Title III of the Americans With Disabilities Act of 1990. Public accommodations, including places

  of lodging were required to conform to these revised regulations on or before March 15, 2012.

         11.     On March 15, 2012, the revised regulations implementing Title III of the ADA took

  effect, imposing significant new obligations on inns, motels, hotels and other “places of lodging.”

  28 C.F.R. §36.302(e)(l) provides that:

                 Reservations made by places of lodging. A public accommodation
                 that owns, leases (or leases to), or operates a place of lodging shall,
                 with respect to reservations made by any means, including by
                 telephone, in-person, or through a third party –



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                        (i)     Modify its policies, practices, or procedures to
                                ensure that individuals with disabilities can make
                                reservations for accessible guest rooms during the
                                same hours and in the same manner as individuals
                                who do not need accessible rooms;

                        (ii)    Identify and describe accessible features in the hotels
                                and guest rooms offered through its reservations
                                service in enough detail to reasonably permit
                                individuals with disabilities to assess independently
                                whether a given hotel or guest room meets his or her
                                accessibility needs;

                        (iii)   Ensure that accessible guest rooms are held for use
                                by individuals with disabilities until all other guest
                                rooms of that type have been rented and the
                                accessible room requested is the only remaining
                                room of that type;

                        (iv)    Reserve, upon request, accessible guest rooms or
                                specific types of guest rooms and ensure that the
                                guest rooms requested are blocked and removed
                                from all reservations systems; and

                        (v)     Guarantee that the specific accessible guest room
                                reserved through its reservations service is held for
                                the reserving customer, regardless of whether a
                                specific room is held in response to reservations
                                made by others.

         12.     In promulgating the new requirements, the Department of Justice made clear that

  individuals with disabilities should be able to reserve hotel rooms with the same efficiency,

  immediacy, and convenience as those who do not need accessible guestrooms. 28 C.F.R. Part 36,

  Appx. A.

         13.     Hotels (and motels) are required to identify and describe all accessible features in

  the hotel and guestrooms; “[t]his requirement is essential to ensure individuals with disabilities

  receive information they need to benefit from the services offered by the place of lodging.” 28

  C.F.R. Part 36, Appx. A. Moreover, “a public accommodation’s designation of a guestroom as



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  “accessible” does not ensure necessarily that the room complies with all of the 1991 Standards.”

  28 C.F.R. Part 36, Appx. A. Labeling a guestroom as “accessible” or “ADA” is not sufficient.

         14.     In addition,

                 hotel rooms that are in full compliance with current standards may
                 differ, and individuals with disabilities must be able to ascertain
                 which features – in new and existing facilities – are included in the
                 hotel’s accessible guest rooms. For example, under certain
                 circumstances, an accessible hotel bathroom may meet accessibility
                 requirements with either a bathtub or a roll in shower. The presence
                 or absence of particular accessible features such as these may mean
                 the difference between a room that is usable by a particular person
                 with a disability and one that is not.

  28 C.F.R. Part 36, Appx. A. Accordingly, Defendant is required to set forth specific accessible

  features and not merely recite that a guestroom is “accessible” or “ADA” or list accessibility

  features that may (or may not) be offered within a particular room.

         15.     For hotels in buildings constructed after the effective date of the 1991 Standards, it

  is sufficient to advise that the hotel itself is fully ADA compliant, and for each accessible

  guestroom, to specify the room type, the type of accessible bathing facility in the room, and the

  communications features in the room. 28 C.F.R. Part 36, Appx. A.

         16.     However, for hotels in buildings constructed prior to the 1991 Standards,

  information about the hotel should include, at a minimum

                 information about accessible entrances to the hotel, the path of travel
                 to guest check-in and other essential services, and the accessible
                 route to the accessible room or rooms. In addition to the room
                 information described above, these hotels should provide
                 information about important features that do not comply with the
                 1991 Standards. For example, if the door to the “accessible” room
                 or bathroom is narrower than required, this information should be
                 included (e.g., door to guest room measures 30 inches clear).
                 [emphasis added].

  28 C.F.R. Part 36, Appx. A.



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         17.     The Hotel is a place of public accommodation that owns and/or leases and operates

  a place of lodging pursuant to the ADA. The Hotel is in a building constructed prior to the 1991

  Standards.

         18.     The Website (and all other online reservation platforms used by the Hotel) allow

  reservations for the Hotel to be taken online. The Defendant has control over information provided

  to the public about the Hotel through the Website and/or other online platforms.

         19.     It is critically important to Plaintiff that any hotel at which he stays is accessible to

  him, which takes some research. Plaintiff frequently researches and assesses the accessible features

  and guestrooms of hotels online, which is the fastest, easiest, and most convenient way for him to

  do so, in furtherance of any planned trips.

         20.     In September 2019, while in this District, Plaintiff visited the Website to learn about

  accessible features of Defendant’s Hotel, and to independently assess whether the Hotel is

  accessible to him, and whether he could independently reserve an accessible room at the Hotel, in

  the same manner as those seeking to reserve non-accessible rooms. Upon his visit, Plaintiff

  discovered that the Website does not comply with the ADA and ADAAG and did not provide him

  with any meaningful accessibility information at all or allow for the online reservation of an

  accessible room (with known accessibility features).

         21.     The Website’s homepage provides no information on the Hotel’s ADA compliance

  or accessibility features. There is no Accessibility Statement or ADA Compliance Statement.

  There is no section or webpage stating the Hotel’s policies and procedures against discrimination

  and to ensure equal access to the Hotel’s facilities by the disabled.

         The Website’s FAQ webpage seeks to address and provide general Hotel information such

  as location, curfew and terms and conditions policies. However, nothing on this webpage relates



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  to ADA compliance or accessibility, especially as to bathing facilities. Neither is there a webpage

  on the Hotel’s amenities providing this information.

         The Rooms webpage describe the Hotel’s three room categories, none of which are

  designated as ADA complaint or accessible. Each room category is depicted in a photograph and

  a brief description. No information is provided as to any room’s ADA compliance or available

  accessible features, including bathing features.

         By clicking on the booking links (BOOK NOW or CHECK AVAILABILITY) located

  throughout the Website, the online reservation process is initiated and a new webpage opens. This

  webpage is interactive and requires input on the number of guests and dates of stay. Once number

  of guests and dates of stay are selected, a new webpage is generated listing the room categories

  available for the selected dates. Again, none of the room categories are designated ADA or

  accessible, especially s to bathing features. By continuing and following the onscreen process, an

  online reservation can be concluded for a non-accessible room. In sum, the Website fails to provide

  sufficient information on accessibility. Plaintiff or any disabled person cannot independently

  assess whether the Hotel and the rooms can accommodate his or her respective accessibility needs.

  Further, non-accessible rooms not be reserved online but accessible rooms cannot be reserved in

  the same manner.

         22.      The Website also has inadequate accessibility information concerning common

  areas and hotel amenities. There is no indication at any point no that the Hotel common areas meet

  the 1991 Standards, or alternatively (as applicable):

               a. Whether the public entrance to the Hotel complies with the 1991 Standards, and if

                  not, the ways in which it does not comply, so that Plaintiff and others similarly

                  situated can evaluate whether it is accessible to them;



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           b. Whether the registration desk at the Hotel complies with the 1991 Standards, and

              if not, the ways in which it does not comply, so that Plaintiff and others similarly

              situated can evaluate whether it is accessible to them;

           c. Whether restaurant or other food service areas at the Hotel comply with the 1991

              Standards, and if not, the ways in which they do not comply, so that Plaintiff and

              others similarly situated can evaluate whether it is accessible to them;

           d. Whether any parking facilities, lots, or other parking accommodations at the Hotel

              comply with the 1991 Standards, and if not, the ways in which they do not comply,

              so that Plaintiff and others similarly situated can evaluate whether it is accessible

              to them;

           e. Whether the swimming pool (if any) complies with the 1991 Standards, and if not,

              the ways in which it does not comply, so that Plaintiff and others similarly situated

              can evaluate whether it is accessible to them;

           f. Whether the business center complies with the 1991 Standards, and if not, the ways

              in which it does not comply, so that Plaintiff and others similarly situated can

              evaluate whether it is accessible to them;

           g. Whether the meeting/ballroom areas comply with the 1991 Standards, and if not,

              the ways in which they do not comply, so that Plaintiff and others similarly situated

              can evaluate whether it is accessible to them;

           h. Whether the route from the public entrance to the registration desk is accessible in

              compliance with the 1991 Standards, and if not, the ways in which it does not

              comply, so that Plaintiff and others similarly situated can evaluate whether it is

              accessible to them;



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           i. Whether the route from the registration desk to the accessible rooms is accessible

              in compliance with the 1991 Standards, and if not, the ways in which it does not

              comply, so that Plaintiff and others similarly situated can evaluate whether it is

              accessible to them;

           j. Whether the route from the public entrance to the business center is accessible in

              compliance with the 1991 Standards, and if not, the ways in which it does not

              comply, so that Plaintiff and others similarly situated can evaluate whether it is

              accessible to them;

           k. Whether the route from the accessible guestrooms to the business center is

              accessible in compliance with the 1991 Standards, and if not, the ways in which it

              does not comply, so that Plaintiff and others similarly situated can evaluate whether

              it is accessible to them;

           l. Whether the route from the public entrance to the pool (if any) is accessible in

              compliance with the 1991 Standards, and if not, the ways in which it does not

              comply, so that Plaintiff and others similarly situated can evaluate whether it is

              accessible to them;

           m. Whether the route from the accessible guestrooms to the pool (if any) is accessible

              in compliance with the 1991 Standards, and if not, the ways in which it does not

              comply, so that Plaintiff and others similarly situated can evaluate whether it is

              accessible to them;

           n. Whether the route from the public entrance to the fitness center is accessible in

              compliance with the 1991 Standards, and if not, the ways in which it does not




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              comply, so that Plaintiff and others similarly situated can evaluate whether it is

              accessible to them;

           o. Whether the route from the accessible guestrooms to the fitness center is accessible

              in compliance with the 1991 Standards, and if not, the ways in which it does not

              comply, so that Plaintiff and others similarly situated can evaluate whether it is

              accessible to them;

           p. Whether the route from the public entrance to the restaurant or food service areas

              is accessible in compliance with the 1991 Standards, and if not, the ways in which

              it does not comply, so that Plaintiff and others similarly situated can evaluate

              whether it is accessible to them;

           q. Whether the route from the accessible guestrooms to the restaurant or food service

              areas is accessible in compliance with the 1991 Standards, and if not, the ways in

              which it does not comply, so that Plaintiff and others similarly situated can evaluate

              whether it is accessible to them;

           r. Whether the route from the public entrance to the conference/ballroom space is

              accessible in compliance with the 1991 Standards, and if not, the ways in which it

              does not comply, so that Plaintiff and others similarly situated can evaluate whether

              it is accessible to them;

           s. Whether the route from the accessible guestrooms to the meeting/ballroom space is

              accessible in compliance with the 1991 Standards, and if not, the ways in which it

              does not comply, so that Plaintiff and others similarly situated can evaluate whether

              it is accessible to them;




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          23.    This is not intended to be an exclusive list, and Plaintiff brings this action to

  remediate all violations of the ADAAG found to exist upon the Website, and upon all online

  reservation platforms used by the Hotel.

          24.    In addition to the list above, upon information and belief, Defendant may not

  effectively (i) ensure that accessible guest rooms are held for use by individuals with disabilities

  until all other guest rooms of that type have been rented and the accessible room requested is the

  only remaining room of that type; (ii) reserve, upon request, accessible guest rooms or specific

  types of guest rooms and ensure that the guest rooms requested are blocked and removed from all

  reservations systems; or (iii) guarantee that the specific accessible guest room reserved through its

  reservations service is held for the reserving customer, regardless of whether a specific room is

  held in response to reservations made by others. Discovery is required on these issues.

          25.    Plaintiff will visit the Website again upon the Defendant’s compliance with the

  laws and regulations specified herein, in order learn about the accessible (and inaccessible)

  features of the Hotel, learn about the accessible (and inaccessible) features of Hotel guestrooms,

  assess the extent to which the hotels meet each of his specific accessibility needs, and determine

  whether he can reserve an accessible guestroom. If the Hotel is the most suited to his accessibility

  needs as compared to other suitable hotels reviewed online, he will book a stay there.

          26.    Plaintiff intends to visit Philadelphia in the Spring of 2020. Plaintiff and his family

  lived in Philadelphia during his youth and he plans to revisit his former neighborhood, home,

  school, etc. Also, Plaintiff wishes to visit the significant historical sites related to pour country’s

  founding, to learn and experience the pride from visiting historical sites and other important

  attractions.




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         27.      Defendant has discriminated against Plaintiff and all other mobility-impaired

  individuals, by denying full and equal access to and enjoyment of the goods, services, facilities,

  privileges, advantages and accommodations offered on the Websites, due to the continuing ADA

  and ADAAG violations as set forth above. Defendant has had eight (8) years to bring the Website

  (and other online reservation platforms, as applicable) into compliance with the ADAAG

  revisions, but has failed or refused to do so.

         28.      Modifying the Website (and other online reservation platforms, as applicable) to

  comply with the ADA and ADAAG is accomplishable without undue burden or expense and is

  readily achievable. But in any event, upon information and belief, the Website has been altered,

  updated, and edited, after 2010, but not in a manner compliant with 2010 ADAAG standards.

         29.      Defendant will continue to discriminate against Plaintiff and all other disabled

  individuals who access the Website (and other online reservation platforms, as applicable) unless

  and until Defendant modifies the Website (and other online reservation platforms, as applicable)

  to set forth all required information, as set forth above.

         30.      Plaintiff is without an adequate remedy at law and are suffering irreparable harm,

  and Plaintiff reasonably anticipates that he will continue to suffer this harm unless and until

  Defendant is required to correct the ADA violations found upon the Websites (and other online

  reservation platforms, as applicable), and to maintain the Websites (and other online reservation

  platforms, as applicable), inclusive of the online reservation system, and accompanying policies

  and procedures, in a manner that is consistent with and compliant with ADA and ADAAG

  requirements.

         31.      Pursuant to 42 U.S.C. §12188(a) this Court has authority to grant injunctive relief

  to Plaintiff, including an Order that compels Defendant to enact policies that are consistent with



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  the ADA and its remedial purposes, and to alter and maintain its Website (and other online

  reservation platforms, as applicable), and all online reservation systems, in accordance with the

  requirements set forth within the 2010 Standards, 28 C.F.R. §36.302(e)(l).

         WHEREFORE, Plaintiff, JESUS GONZALEZ, respectfully requests that this Court enter

  judgment against Defendant, and in his favor, as follows:

             a. A declaration that the Website (and other online reservation platforms, as

                applicable) is owned, leased, operated, and/or controlled by Defendant is in

                violation of the ADA;

             b. Temporary and permanent injunctive relief enjoining Defendant from continuing

                its discriminatory practices, including the requirement that Defendant permanently

                implement policies, practices, procedures, including online content, consistent with

                the mandates of the 2010 ADAAG Standards on its Website (and other online

                reservation platforms, as applicable);

             c. Temporary and permanent injunctive relief enjoining Defendant from maintaining

                or controlling content on any website through which it is offering online

                reservations for any hotel that it owns or operates, unless such website and online

                reservation system fully comply with 28 C.F.R. §36.302(e)(l);

             d. An award of reasonable attorneys’ fees, costs, disbursements and other expenses

                associated with this action, in favor of Plaintiff;

             e. An award of compensatory damages deemed just and appropriate to Plaintiff; and

             f. Such other and further relief as this Court deems just, necessary and appropriate

                under the circumstances.

  DATED September 20, 2019



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                                              Respectfully Submitted,

                                              LAW OFFICES OF NOLAN KLEIN
                                              Attorneys for Plaintiff
                                              5550 Glades Road, Suite 500
                                              Boca Raton, FL 33431
                                              PH: (954) 745-0588
                                              www.nklegal.com

                                        By:     /s/ Hector Ramirez
                                              HECTOR RAMIREZ, ESQUIRE
                                              ramirez@nklegal.com
                                              amy@nklegal.com




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